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IN THE UNITED STATES DISTRICT COURT m.ED BY Dc.
FOR THE WESTERN DISTRICT OF TENNESSEE ` '
WESTERN DIVISION

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X nexus usncroomr
DAVID JACKSON, X G'“'rfé f.MPH;S
X
Plaintiff, X
X
vs. X No. 04-2935-Ma/V
X
cORRE:cTIONS coRPoRATION X
OF AME:RICA, X
X
Defendant. X
X

 

ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL
AND
ORDER DENYING MOTION FOR JURY TRIAL

 

Plaintiff David Jackson, Mississippi Department of Correction
(“MDOC”) prisoner number 39640, an inmate at the Wilkinson County
Correctional Facility (“WCCF”) in Woodville, Mississippi, filed a pro
§§ complaint under 42 U.S.C. § 1983 in this district. The
plaintiff's claims, however, arose from his Confinement at the WCCF
and had no Connection with Western Division of the Western District
of Tennessee. On June 3, 2005, the Court signed an order
transferring his case to the United States District Court for the
Southern District of Mississippi, Western Division, pursuant to 28
U.S.C. § 1406(a). The Clerk entered the order upon the docket on
June 6, 2005.

On June 6, 2005, Jackson filed a nmtion for appointment of
counsel and a motion for trial by jury. Because this case has been

transferred to the United States District Court for the Southern

T. is document entered on the docket sheet' m compliance
with Ru'e 58 and/or 19(2.) FRCF’ on " |

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District of Mississippi, the motions for appointment of counsel and
jury trial should be addressed by the transferee court. The motions
are DENIED without prejudice. Plaintiff may renew his motions in the
Southern District of Mississippi after his notification that the

transferred file has been received and docketed there.

IT Is So 0RDERED this /{K day of July, 2005.

`M//M/z___`

SAMUEL I-I. MAYS, JR..
UNI'I'ED STATES DISTRICT JUDGE

 

sTAElesTRCIT OURT - WESTNER D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:04-CV-02935 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed.

 

 

David Jackson

WILKINSON COUNTY CORRECTIONAL FACILITY
39640

P.O. BOX 1079

Woodville, MS 39669

Honorable Samuel Mays
US DISTRICT COURT

